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                   EXHIBIT D
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From: Buie, Alan (USATXW) <Alan.Buie@usdoj.gov>
Sent: Monday, January 29, 2024 4:13 PM
To: Gerry Morris <egm@egmlaw.com>
Cc: Latcovich, Simon <SLatcovich@wc.com>; Looby, Patrick <PLooby@wc.com>
Subject: RE: Production 5 in A-23-CR-100-DAE

OK. I’ll make that happen ASAP.

From: Gerry Morris <egm@egmlaw.com>
Sent: Monday, January 29, 2024 3:11 PM
To: Buie, Alan (USATXW) <ABuie@usa.doj.gov>
Cc: Latcovich, Simon <SLatcovich@wc.com>; plooby@wc.com
Subject: [EXTERNAL] RE: Production 5 in A-23-CR-100-DAE

I’ll wait until the back records are on it before I pick it up.

From: Buie, Alan (USATXW) <Alan.Buie@usdoj.gov>
Sent: Monday, January 29, 2024 2:51 PM
To: Gerry Morris <egm@egmlaw.com>
Cc: Latcovich, Simon <SLatcovich@wc.com>; plooby@wc.com
Subject: Production 5 in A-23-CR-100-DAE

Gerry, your USB drive, containing the discovery described in the attached letter, is ready for
pickup at our front desk. Or I can drop it at your office in the morning if you prefer.

If you want to leave the drive with us for a day or two, to see whether we can add the bank
records before you pick it up, feel free. But I’m far from certain that all of the bank records will
fit on that size drive.

Thanks

Alan M. Buie
512.417.2901
